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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                  Judge Robert E. Blackburn

  Civil Action No. 18-cv-00632-REB-NYW

  BLUSKY RESTORATION CONTRACTORS, LLC,

          Plaintiff,

  v.

  WHITMAN-GREENHILL, LLC,

          Defendant.


                                          ORDER OF REMAND

  Blackburn, J.

          This matter is before me on the Plaintiff’s Motion for Remand [#12]1 filed April

  9, 2018. The defendant filed a response [#18], and the plaintiff filed a reply [#23]. I

  grant the motion.

                                            I. JURISDICTION

          Putatively, I have subject matter jurisdiction under 28 U.S.C. § 1332 (diversity of

  citizenship).

                                      II. STANDARD OF REVIEW

          Under 28 U.S.C. § 1441(a), an action filed in state court may be removed to

  federal district court if the action is one over which the district court would have had

  original jurisdiction. Title 28 U.S.C. § 1447 provides for post-removal procedures,

  including procedures applicable to a motion for remand to state court. When the basis

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             “[#12]” is an example of the convention I use to identify the docket number assigned to a
  specific paper by the court’s electronic case filing and management system (CM/ECF). I use this
  convention throughout this order.
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  of removal allegedly is diversity of citizenship, the parties must be completely diverse

  and the amount in controversy must exceed $75,000, exclusive of interest, costs, and

  attorney’s fees. See 28 U.S.C. § 1332. The party invoking diversity jurisdiction bears

  the burden of proving the existence of compete diversity by the preponderance of the

  evidence. See Middleton v . Stephenson, 749 F.3d 1197, 1200 (10th Cir. 2014).

  Complete diversity means each plaintiff must be diverse from each defendant.

  Newman–Green, Inc. v. Alfonzo – Larrain, 490 U.S. 826, 829 & n. 1(1989).

         The issues concerning remand in this case implicate the interpretation of the

  interrelated provisions of three contracts between the parties. For the reasons

  discussed below, I find and conclude that New Jersey law is applicable. Under New

  Jersey law, the interpretation of the terms of a contract is “decided by the court as a

  matter of law unless the meaning is both unclear and dependent on conf licting

  testimony.” Bosshard v. Hackensack Univ. Med. Ctr., 345 N.J.Super. 78, 92

  (App.Div. 2001). The contract must be interpreted as a whole and the “terms of the

  contract must be given their ‘plain and ordinary meaning.’“ Nester v. O'Donnell, 301

  N.J.Super. 198, 210 (App.Div. 1997). The court should interpret contract terms “to

  avoid ambiguities, if the plain language of the contract permits.” Stiefel v. Bayly,

  Martin and Fay of Conn., Inc., 242 N.J.Super. 643, 651 (App.Div.1990).

                                     III. BACKGROUND

         In July 2017, the plaintiff, BluSky Restoration Contractors, LLC, contracted with

  Weyerhaeuser to perform remediation work on 917 homes in nine states. As part of

  this work, BluSky entered into a series of agreements with the defendant, Whitman-

  Greenhill, LLC (WG), for management and labor on some of these homes. According


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  to BluSky, WG provided construction management services related to 376 homes in

  eight states. In addition, W G provided labor on a subset of those homes.

         In this suit, BluSky seeks to resolve a dispute about the amount of payments due

  to WG from BluSky. BluSky filed its Complaint [#4] in the District Court for the

  Eighteenth Judicial District of the State of Colorado, also known as the District Court,

  Arapahoe County, Colorado. WG removed the case to this court, asserting that this

  federal district court has diversity jurisdiction over the case. BluSky does not dispute

  that the prerequisites for diversity jurisdiction are present. However, in its motion to

  remand [#12], BluSky contends this case must be remanded to the state district court

  because a forum selection clause in a contract between the parties requires the parties

  to resolve this dispute in the District Court, Arapahoe County, Colorado.

         BluSky and WG entered into three separate but related contracts concerning the

  work performed by WG for BluSky:

         (1) Contract #1 - August 23, 2017 - This contract, the Consulting Services
         Agreement [#12-3], contains a New Jersey choice of law clause and a
         New Jersey forum selection clause;

         (2) Contract #2 - August 25, 2017 - This contract, the Subcontract
         Agreement [#12-4], contains a Colorado choice of law clause and a
         Colorado forum selection clause; and

         (3) Contract #3 - November 6, 2017 - This contract, the Amendment [#12-
         5], contains a New Jersey choice of law clause and no forum selection
         clause.

  The interrelationship of the terms of these three contracts determines which, if either, of

  the two forum selection clauses is applicable to this case.

         Contract #1 provides:

         This Agreement shall be governed by the laws of the State of New Jersey,
         and any disputes to be adjudicated hereunder shall be submitted to the

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         jurisdiction of the state and/or federal courts sitting in the State of New
         Jersey;, (sic) New Jersey the (sic) having subject matter jurisdiction
         thereof.

  Contract #1 [#12-3], p. 9.

         Contract #2, which was singed by WG two days after Contract #1 was signed,

  provides:

         All disputes between BluSky and Subcontractor [WG] shall be resolved
         through the Colorado Courts. Colorado law shall apply exclusively and
         Venue for all proceedings shall be Arapahoe County, Colorado. The
         parties acknowledge, consent, and submit to the personal jurisdiction of
         the Colorado courts. . . .

  Contract #2 [#12-4], p. 1. In addition, Contract #2 provides:

         In the event of an ambiguity, contradiction, or competing term, condition,
         or provision between this Subcontract Agreement [Contract #2] and . . .
         any other agreement, this Subcontract Agreement [Contract #2] shall
         control and govern to the exclusion of all other documents.

  Id.

         Contract #3, executed on November 6, 2017, says the parties entered into

  Contract #3 “to clarify the coordination of the Agreements [Contract #1 & Contract #2]

  and amend certain provisions thereof as follow:” Contract #3 [#12-5], p. 1. Contract #3

  provides that Contract #1 and Contract #2 remain in full force and effect, except as

  specifically modified by Contract #3.

                Except as otherwise specifically stated herein, the Agreements
         [Contract #1 & Contract #2] remain in full force and effect with the terms,
         covenants and conditions of each Agreement hereby ratified by the
         Parties. Except as specifically provided herein, this Amendment shall not
         modify any term of the Consulting Agreement [Contract #1], the
         Subcontract Agreement [Contract #2] or the obligations of BluSky and
         WG thereunder.

  Contract #3 [#12-5], p. 4, ¶ 16. In addition, Contract #3 prov ides: “In the event of a

  conflict between the terms of this Amendment [Contract #3] and the other terms of the

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  Consulting Agreement [Contract #1] or the Subcontract Agreement [Contract #2], the

  terms of this Amendment [Contract #3] shall control.” Contract #3 [#12-5], p. 4, ¶ 17.f.

        Finally, on the topic of choice of law, Contract #3 provides:

        This Amendment [Contract #3] shall be governed by, and construed in
        accordance with, the laws of the State of New Jersey.

  Contract #3 [#12-5], p. 4, ¶ 17.c. Contract #3 says nothing about an agreed venue or

  forum for any lawsuit between the parties.

                                       IV. ANALYSIS

        Contract #3 provides that Contract #1 and Contract #2 remain in full force and

  effect and the parties ratify Contact #1 and Contract #2, except as modified by Contract

  #3. Contract #3 [#12-5], p. 4, ¶ 16. Contract #3 provides that Contract #3, and the

  incorporated Contract #1 and Contract #2, shall be governed by, and construed in

  accordance with, the laws of the State of New Jersey. Contract #3 [#12-5], p. 4, ¶ 17.c.

  That provision of Contract #3 modifies the choice of law provision of Contract #2, which

  provides that Colorado law governs. Thus, on the issue of choice of law, Contract #3

  governs. When the terms of Contract #3 conflict with the terms of Contract #1 or

  Contract #2, Contract #3 controls. Contract #3 [#12-5], p. 4, ¶ 17.f. Thus, New Jersey

  law governs any dispute under the contracts.

        However, Contract #3 says nothing about an agreed venue or forum for a lawsuit

  between the parties concerning the contracts. As a result, the choice of venue

  provision of Contract #2 remains in effect. “All disputes between BluSky and

  Subcontractor [WG] shall be resolved through the Colorado Courts.” Contract #2 [#12-

  4], p. 3. “Venue for all proceedings shall be Arapahoe County, Colorado. The parties

  acknowledge, consent, and submit to the personal jurisdiction of the Colorado courts. . .

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  .” Id. The forum selection clause of Contract #2 controls over the contrary forum

  selection clause of Contract #1 because the terms of Contract #2 “shall control and

  govern to the exclusion of all other documents” if the terms of Contract #2 conflict with

  the terms of Contract #1. Contract #2 [#12-4], p. 1.

         Given the mandatory language of the forum selection provision of Contract #2

  and the fact that it covers “(a)ll disputes between BluSky and Subcontractor [WG],” I

  find and conclude that the forum selection clause of Contract #2 is mandatory. See K

  & V Scientific Co., Inc. v. Bayerische Motoren Werke Aktiengesellschaft ("BMW''),

  314 F.3d 494, 499–500 (10th Cir. 2002) (com paring mandatory and permissive forum

  selection clauses); Excell, Inc. v. Sterling Boiler & Mechanical, Inc., 106 F.3d 318,

  321 (10th Cir. 1997) (describing mandatory versus permissive forum selection clauses).

  When a party seeks remand from federal court to state court based on a forum

  selection clause in a contract, remand is proper when the forum selection clause is

  mandatory. Excell, 106 F.3d at 321; Milk 'N' More, Inc. v. Beavert, 963 F.2d 1342,

  1345–46 (10th Cir. 1992). This is true even when the federal court otherwise has

  diversity jurisdiction over the case. Excell, 106 F.3d at 321. In these circumstances,

  remand is not appropriate only when the removing party shows the forum selection

  clause is unfair or unreasonable. Id. WG has made no such showing here.

         WG claims Contract #3 “eliminated the forum selection provisions” of Contract

  #1 and Contract #2. Response [#18], p. 4. This contention is contrary to the plain

  language of Contract #3: “Except as specifically provided herein, this [Contract #3]

  shall not modify any term of [Contract #1, Contract #2] or the obligations of BluSky and

  WG thereunder.” Contract #3, p. 4, ¶ 16. Contract #3 contains no language


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  concerning forum selection, including amendment of the forum selection clause of

  Contract #2.

         WG claims “there is absolutely no evidence that the parties intended for the

  Colorado forum-selection clause in [Contract #2] to supersede the New Jersey forum-

  selection clause in [Contract #1].” Response [#18], p. 5. The language of the contracts

  is the best and most direct evidence of the intentions of the parties. The plain language

  of Contract #2 and Contract #3, detailed above, shows that the parties intended for the

  forum selection clause of Contract #2 to remain in effect. Contract #3 amends certain

  provisions of Contract #1 and Contract #2. Contract #3 does not address f orum

  selection. “Except as specifically provided herein, this [Contract #3] shall not modify

  any term of [Contract #1, Contract #2] or the obligations of BluSky and WG

  thereunder.” Contract #3 [#12-5], p. 4, ¶ 16. This unambiguous language of Contract

  #3 leaves in place the unambiguous and mandatory forum selection clause of Contract

  #2. The other arguments of WG concerning interpretation of the contracts are

  unavailing.

                               V. CONCLUSION & ORDERS

         With regard to forum selection, the language of the three contracts between the

  parties is unambiguous. Applying the plain and ordinary meaning of the relevant

  contract language, the forum selection clause of Contract #2 controls. The mandatory

  forum selection clause of Contract #2 requires the parties to resolve this dispute

  “through the Colorado Courts.” Contract #2 [#12-4], p. 1. “Venue for all proceedings

  shall be Arapahoe County, Colorado.” Id. Given this mandatory forum selection

  clause, this case must be remanded to the District Court, Arapahoe County, Colorado.


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        THEREFORE, IT IS ORDERED as follows:

        1. That the Plaintiff’s Motion for Remand [#12] is granted;

        2. That under 28 U.S.C. § 1447, this case is remanded to the District Court,

  Arapahoe County, Colorado (where it was filed originally as Case No. 2018CV30260);

  and

        3. That Whitman - Greenhill, LLC’s Motion To Transfer this Matter To The

  District of New Jersey [#15] is denied as moot.

        Dated August 10, 2018, at Denver, Colorado.

                                                BY THE COURT:




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